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                       UNITED STATES COURT OF APPEALS
                                  FOR THE
                               SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
7th day of June, two thousand twenty-four.

Before:     Sarah A. L. Merriam,
                   Circuit Judge.
________________________________

 New York State Telecommunications Association, Inc.,
 CTIA - The Wireless Association, ACA Connects -                ORDER
 America's Communications Association, USTelecom - The
 Broadband Association, NTCA - The Rural Broadband              Docket No. 21-1975
 Association, Satellite Broadcasting and Communications
 Association, on behalf of their respective members,

               Plaintiffs - Appellees,

 v.

 Letitia A. James, in her official capacity as Attorney
 General of New York,

            Defendant - Appellant.
 ________________________________

       Appellees move for an extension of time to June 14, 2024 to file a petition for
rehearing or rehearing en banc.

       IT IS HEREBY ORDERED that the motion is GRANTED.


                                                     For the Court:

                                                     Catherine O’Hagan Wolfe,
                                                     Clerk of Court
